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 1                             UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3 Billy Cepero,                                          Case No.: 2:11-cv-01421-JAD-NJK

 4          Plaintiff
                                                          Order Dismissing Claims Against
 5 v.                                                      Defendants Aiken and Fowler

 6 Douglas Gillespie et al.,                                        [ECF No. 177]

 7          Defendants

 8         Last month, this nine-year-old case, which began with over a dozen defendants, was

 9 narrowed to just one defendant, two unserved parties, and three claims. As of my order partially

10 granting summary judgment, plaintiff Billy Cepero had still not served Defendants Timothy

11 Aiken and Mark D. Fowler after the magistrate judge offered Cepero another chance to do so in

12 late 2018. So I ordered Cepero to show cause by October 30, 2020, why I should not dismiss his

13 claims against Aiken and Fowler under Federal Rule 4(m) for failure to timely serve them. That

14 deadline has passed and Cepero has not complied with the order, so I dismiss his claims against

15 Aiken and Fowler.

16         IT IS THEREFORE ORDERED that Cepero’s claims against Defendants Timothy Aiken

17 and Mark Fowler are dismissed and the Clerk of Court is directed to terminate Defendants

18 Aiken and Fowler from this case. This case proceeds on Cepero’s excessive-force, assault, and

19 battery claims against Defendant James Bonkavich only.

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                                                             U.S. District Judge Jennifer A. Dorsey
21                                                                               November 2, 2020

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